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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


NATIONAL VETERANS LEGAL SERVICES
PROGRAM, et al.,

               Plaintiffs,
                                      Civil Action No. 16-745 (ESH)
                 v.

UNITED STATES OF AMERICA

              Defendant.


                DEFENDANT’S REPLY IN SUPPORT OF
              CROSS-MOTION FOR SUMMARY JUDGMENT




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       In their Opposition, Plaintiffs persist in their misunderstanding of the E-Government Act

and Congress’ authorization for Defendant to charge fees for its Public Access to Court Electronic

Records (“PACER”) system in order to support its public access services. In fact, nearly all of

Plaintiffs’ arguments are rooted in the same fundamental flaw—the mistaken belief that Congress

limited the fees Defendant may charge for PACER access to the cost of operating PACER. As

this reading finds no support in the statutory text or its legislative history, this Court should grant

summary judgment for Defendant.

                                            ARGUMENT

I.     PLAINTIFFS ASK THIS COURT TO AMEND THE E-GOVERNMENT ACT

       In their Opposition, Plaintiffs repeatedly contend that Defendant has read a portion of the

E-Government Act—“‘only to the extent necessary’—into nothing.” Pls.’ Opp. to Def.’s Cross-

Mot. for Summ. J. at 2 (ECF No. 75) (hereinafter, “Pls.’ Opp.”). But Plaintiffs have it exactly

backward. While Defendant has demonstrated its fealty to the statutory text, Plaintiffs ask this

Court to add language to the E-Government Act that Congress never included. This fatal flaw

undergirds each of the five textual arguments Plaintiffs include in their Opposition.

       Before wading through the maladies of Plaintiffs’ arguments, it is helpful to again put the

E-Government Act in its proper context. Notwithstanding Plaintiffs’ narrow focus on the E-

Government Act of 2002, PACER fees originated nearly fifteen years earlier with a 1988 decision

of the Judicial Conference to authorize an experimental program for providing public access to

court information. See Memo. in Supp. of Def.’s Cross-Mot. for Summ. J. at 2 (ECF No. 73-1)

(hereinafter, “Def.’s Mot.”). Over a period of years, this program expanded and Congress

authorized Defendant to charge access fees. See id. at 3. For instance, Congress approved the

Defendant’s plan to expand public access to cover appellate court records and also records from
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the Court of Federal Claims. See id. at 4. And, Congress directed that PACER fees be expanded

to cover multidistrict litigation records. See id. In 1997, the Senate Committee on Appropriations

informed Defendant that it supported Defendant’s “ongoing efforts … to improve and expand

information made available in electronic form to the public.” Id. Moreover, this Committee stated

that it “expect[ed]” Defendant “to utilize available balances derived from electronic public access

fees in the Judiciary Automation Fund to make information and services more accessible to the

public through improvements to enhance the availability of electronic information.” Id.

       Against this backdrop, Congress passed the E-Government Act in 2002, which removed

the requirement that Defendant charge fees for public access to, instead, authorize Defendant to

charge reasonable fees as it deems necessary. See id. at 5. Specifically, the E-Government Act

stated that Defendant “may, only to the extent necessary, prescribe reasonable fees, … for

collection by the courts under those sections for access to information available through automatic

data processing equipment.” Pub. L. No. 107-347, § 205(e); 28 U.S.C. § 1913 note. The Act went

on, authorizing Defendant to “distinguish between classes of persons” when charging fees and to

exempt certain persons from fees entirely. Def.’s Mot. at 5. Further, the relevant fee schedule was

to “prescribe … fees for electronic access to information[.]” Id. Notably, during this time (and

before the E-Government Act), the Judicial Conference set public access fees at the level necessary

to fund the costs of providing and enhancing public access services. See Pls.’ Mot. for Summ. J.

Ex. I at 3 (ECF No. 52-10) (hereinafter, “Pls.’ Mot.”) (“The Judiciary takes its responsibility to

establish the [Electronic Public Access (‘EPA’)] fee very seriously. Since well before the E-

Government Act, it has been the Judicial Conference’s policy to set the electronic public access

fee to be commensurate with the costs of providing and enhancing services related to public

access.”).



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       Each year, both before and after the E-Government Act became law, Defendant submitted

annual Financial Plans to the House and Senate Appropriations Committees, which, inter alia,

detail Defendant’s planned uses for “[EPA] revenues.” Def.’s Mot. at 7. And, in response, the

Committees routinely expressed their agreement with these plans. For instance, the Senate

Appropriations Committee leadership sent a letter to the Administrative Office of the United States

Courts (“AO”), stating that the Committee had “reviewed the information included and ha[d] no

objection to the financial plan including the following proposal[ ]: … the expanded use of [EPA]

Receipts.” Id.

       Notwithstanding the clear direction that Defendant could charge fees to support general

“electronic access to information” and “access to information available through automatic data

processing equipment,” id., Plaintiffs levy five arguments against Defendant’s interpretation of the

E-Government Act. As discussed below, these are just the same argument recast five times, each

failing for the same reason: this Court cannot add language to the E-Government Act that Congress

did not include.1




1
  Similarly, Plaintiffs’ suggestion that Defendant’s interpretation “differs markedly from the
position that the AO advanced in its 2009 letter to Senator Lieberman” is misplaced. See Pls.’
Opp. at 2. Specifically, Plaintiffs misrepresent the 2009 letter, suggesting that in it, the AO stated
that it interpreted the E-Government Act to authorize user fees only to pay for PACER. See id.
Instead, the AO simply stated in this letter that “Congress mandated 18 years ago [before the E-
Government Act was passed] that the Judiciary charge user fees for electronic access to court files
as a way to pay for this service.” Pls.’ Mot. Ex. I at 2 (ECF No. 52-10). Moreover, the Defendant’s
Cross-Motion is in perfect harmony with this letter, as Defendant has always maintained that
Congress authorized it to use PACER fees for more than simply the cost of operating PACER. See
Def.’s Mot. at 8–16. Indeed, the 2009 letter itself stated that “various legislative directives have
amended the mandate, mostly to expand the permissible use of the fee revenue to pay for other
services related to the electronic dissemination of court information such as the Case
Management/Electronic Case Files (CM/ECF) system and an Electronic Bankruptcy Noticing
(EBN) system.” Pls.’ Mot. Ex. I at 2 (emphasis added).

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       1.       Plaintiffs begin by errantly stating that Defendant seeks to have “unbounded

discretion to set fees.” Pls.’ Opp. at 2. This is rooted in Plaintiffs’ belief that Defendant reads the

E-Government Act’s “only to the extent necessary” language to “deprive[ ] it of any practical

effect” because, in Plaintiffs’ estimation, this should be read to say “only to the extent necessary

to pay for PACER.” Id. at 3 (emphasis added). And, any other reading, according to Plaintiffs,

strips “only to the extent necessary” of meaning and gives Defendant “unbounded discretion.” Id.

at 2. But as Defendant has already noted, the relevant statutory text includes no such qualifiers

and, instead, authorizes Defendant to charge fees for “access to information available through

automatic data processing equipment” and, more generally, “for electronic access to information.”

Def.’s Mot. at 11; see also 28 U.S.C. § 1913 note. More importantly, though, Defendant has never

sought “unbounded discretion to set fees.” See generally Def.’s Mot. Rather, Defendant has

argued that it may charge reasonable fees for PACER access to allow Defendant to provide

“electronic access” to the public. See Def.’s Mot. at 8–20. Plaintiffs do not establish that the fees

are unreasonable when viewed in this light—only that the Court should instead adopt their narrow

reading. Yet, Defendant’s interpretation aligns with the exact requirements that Congress included

in the E-Government Act and Congress did not add any of the additional limitations that Plaintiffs

propose here.

       2.       Next, Plaintiffs recast this same argument by contending that the E-Government

Act requires that “PACER fees must be necessary to reimburse PACER costs.” Pls.’ Opp. at 3.

But this suffers from the same flaw as the argument discussed above—it reads the E-Government

Act to include limitations Congress did not include. Indeed, Plaintiffs themselves concede that

Congress only tethered the authorization to charge fees to the provision of information “through

automatic data processing equipment.” Pls.’ Opp. at 3; see also 28 U.S.C. § 1913 note (authorizing



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“reasonable fees” to be charged “for electronic access”).         Curiously, notwithstanding this

acknowledgment, Plaintiffs still argue that Congress meant to include a limitation that the fees

charge be limited to the “extent necessary to pay for PACER.”

       As Plaintiffs acknowledge, this reading, were it correct, amounts to a change in the way

that Defendant was authorized to charge PACER fees. See Pls.’ Opp. at 4 (contending that the E-

Government Act sought to change the authorization to charge fees because they were exceeding

“the marginal cost of disseminating the information.”). Of course, courts are not to assume that

Congress initiated such changes without stating so expressly in the statute. Whitman v. Amerian

Trucking Assns., Inc., 531 U.S. 457, 468 (2001) (“Congress, we have held, does not alter the

fundamental details of a regulatory scheme in vague terms or ancillary provisions—it does not,

one might say, hide elephants in mouseholes”).

       Moreover, Plaintiffs again rely on the simple fact that a Senate Committee Report

discussing the E-Government Act stated that “[p]ursuant to existing law, users of PACER are

charged fees that are higher than the marginal cost of disseminating the information.” Pls.’ Opp.

at 4; see also Taylor Decl. Ex. D at 23. From this undisputed fact, Plaintiffs attempt to read the E-

Government Act as though it was intended to prevent PACER fees from being “higher than the

marginal cost” of operating PACER. Pls.’ Opp. at 4. But that is not what the Committee Report

states. Rather, the Report’s only explanation of the relevant statutory language is that it was

“intend[ed] to encourage the Judicial Conference to move from a fee structure in which electronic

docketing systems are supported primarily by user fees to a fee structure in which this information

is freely available to the greatest extent possible.” Taylor Decl. Ex. D at 23. The Court should

reject Plaintiffs’ invitation to engage in the mental gymnastics necessary that would be required to

get from this statement to the conclusion that the E-Government Act meant to limit PACER fees



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to the cost of operating PACER. In fact, the Report goes on to discuss PACER as just one such

mechanism by which the AO provides electronic public access. See id. Far from supporting

Plaintiffs’ reading of the E-Government Act, this Committee Report only underscores the fact that

the E-Government Act was focused on increasing free access (something that can only be

accomplished by recouping the costs of free access through the fees charged to paying consumers)2

and that the Report’s authors considered PACER to be just one method by which the AO

disseminates electronic information publicly.

       3.      Next, Plaintiffs attempt to recast the same argument under the constitutional-doubt

canon of statutory construction. See Pls.’ Opp. at 4–6. But here again, Plaintiffs simply contend

that the E-Government Act authorizes Defendant to charge PACER fees only to the extent

necessary to fund PACER. Although they recharacterize their argument under new terms, it fails

for the same simple reason—Congress did not include the requirement that they ask the Court to

read into the statute. Here, Plaintiffs focus on Congress’ taxing power and the Supreme Court’s

admonition that “Congress must indicate clearly its intention to delegate its taxing power before

another branch of government may raise revenue by imposing user fees that exceed the cost of

providing the service[.]” Pls.’ Opp. at 4–5 (quotation marks omitted; emphasis added). For this

statement, Plaintiffs point to the Supreme Court’s decision in Skinner v. Mid-Am. Pipeline Co.,

490 U.S. 212, 224 (1989), and suggest that Defendant has somehow failed to address this case.

See Pls.’ Opp. at 5. Defendant did not cite Skinner in its Cross-Motion because it is irrelevant.

Contrary to Plaintiffs’ characterization, PACER fees are not “taxes” but rather fees charged for

electronic access to public information, as Congress directed.



2
 See Pls.’ Resp. to Def.’s Statement of Material Facts ¶ 22 (conceding that the E-Government Act
provides no alternate sources of funding) (ECF No. 75-1).

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       Plaintiffs’ overly restrictive view of the E-Government Act and Skinner risks undercutting

the relevant portions of the E-Government Act entirely. If Plaintiffs are correct—that the receipts

from these fees may not be used to “inur[e] directly to the benefit” of any other person, then the

relevant portions of the E-Government Act must all be thrown aside. By Plaintiffs’ own admission,

the E-Government Act sought to expand free access to court records. See Pls.’ Opp. at 1; Pls.’

Resp. to Def.’s Statement of Material Facts ¶ 22. But given that the Judiciary does not receive

separate appropriations, the only way that it can provide these records for free to certain users is

to cover that expense with the fees received from paying consumers. Thus, the fees paid are

“inuring directly to the benefit” of others—those to whom Defendant has provided records for

free. Under Plaintiffs’ view, this entire system must fall. But such an absurd result must be

avoided. See Griffin v. Oceanic Contractors, Inc., 458 U.S. 563, 575 (1982) (“[I]nterpretations of

a statute which would produce absurd results are to be avoided if alternative interpretations

consistent with the legislative purpose are available”).

       Plaintiffs also attempt to characterize their arguments as raising First Amendment

concerns, such that the Court should rule in their favor to avoid the constitutional questions. See

Pls.’ Opp. at 6. Plaintiffs are again attempting to create a new First Amendment right—a right to

electronic access to court records from their homes. Put simply, Plaintiffs offer no support for

such a contention because none exists. See Def.’s Mot. at 23–25. And, given that neither Plaintiffs

nor amici offers any support for this position, they have failed to provide any reason that the Court

should simply enter summary judgment in their favor in order to avoid a vague (and unfounded)

constitutional concern.

       4.      Parroting their previous arguments, Plaintiffs next contend that “PACER fees

exceed the amount necessary even on the government’s view.” Pls.’ Opp. at 6. In this brief



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section, Plaintiffs ask the Court to grant summary judgment in their favor because, in their

estimation, they “demonstrated that PACER fees are being used to fund projects that go beyond

the provision of ‘public access services.’” Pls.’ Opp. at 6–7 (referencing courtroom technology,

electronic Violent Crime Control Act notices, electronic bankruptcy notices, and electronic juror

notices). But contrary to Plaintiffs’ suggestion, Defendant addressed these in its Cross-Motion.

See Def.’s Mot. at 19–20. Interestingly, Plaintiffs again try to make much of the fact that EPA

revenues have been used to fund television monitors in certain federal district courtrooms, see Pls.’

Opp. at 7 n.3, as Congress approved, see Skidgel Decl. ¶ 12, Ex. K at 2, 44 (ECF No. 73-2). But

in their Opposition, Plaintiffs fail to note that these televisions provide “the general public” (both

jurors and the gallery alike) with access to court records. See Def.’s Mot. at 18 n.11 (emphasis

added).

          Plaintiffs’ decision to return to these arguments is surprising, given that Congress

recognized each of these programs to constitute an “effort[ ] to make electronic information

available to the public.” Def.’s Mot. at 19. In light of their failure to cite any authority, it is unclear

how Plaintiffs arrived at their conclusion that these uses “go beyond the provision of ‘public access

services.’” Pls.’ Opp. at 7. Given that Congressional Committee members understood these to

fall within the “public access services” when the House Committee on Appropriations expressly

stated that it “supports” these efforts to “make electronic information available to the public,” the

Court should also cast aside this argument.

          5.     Finally, Plaintiffs rehash their argument one last time by contending broadly that

PACER fees are not “reasonable.” Pls.’ Opp. at 7. Here, Plaintiffs again base their argument on

the contention that the E-Government Act limits PACER fees to those fees necessary to fund only




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PACER and that any fees beyond that are per se unreasonable. At the risk of repetition—this

argument fails as Congress did not include any such language in the E-Government Act.

       On this point, Plaintiffs also argue that since the costs of storage have fallen, the cost of

operating PACER must have also fallen. See id. Plaintiffs’ support of this red herring with “our

experts’ calculations” is of no moment. As noted above (repeatedly), nothing in the E-Government

Act limits the authorization to charge PACER fees to the cost of operating PACER. Accordingly,

it is irrelevant that Plaintiffs identified an expert who stated that the cost of a single portion of

providing public access services (data storage) has decreased and the Court should thus cast aside

this final attempt to challenge Defendant’s PACER fees. Moreover, to the extent that Plaintiffs

use this argument as a proxy for establishing that PACER fees are somehow unreasonable, they

are wrong on the law. See supra. And, to the extent that they are attempting to quantify a specific

delta between the cost of providing PACER access and PACER fees, they have gotten ahead of

themselves. See Scheduling Order ¶¶ 3–4 (Jan. 24, 2017) (limiting this round of briefing to

liability, not damages).

II.    PLAINTIFFS’         MISCELLANEOUS             ARGUMENTS         PROVIDE        THEM       NO
       SUPPORT

       Judiciary’s Information-Technology Fund (“JITF”). Congress expressly stated that EPA

receipts were to be deposited in the “Judiciary Automation Fund.”3 28 U.S.C. § 1913 note; see

also Def.’s Mot. at 10. And, this is a fund for which Congress has expressly itemized the ways in

which its funds may be spent. See id. (quoting 28 U.S.C. § 612(a)). Given that Congress chose

this fund as the location for depositing EPA receipts, it is entirely reasonable to conclude that

Congress intended that the funds deposited into JITF could be spent in accordance with the


3
  The Judiciary Automation Fund was subsequently renamed as the Judiciary Information
Technology Fund. See 28 U.S.C. § 612.

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provisions of 28 U.S.C. § 612(a). Claiming to offer the statutory interpretation that “makes the

most sense” and “tracks the plain language,” Pls.’ Opp. at 1, Plaintiffs again ask this Court to

ignore statutory language. Here, they ask the Court to ignore the fact that Congress identified the

JITF in the E-Government Act. Yet, there can be no debate about the fact that Congress identified

the JITF as the location for depositing EPA revenues. See 28 U.S.C. § 1913 note. And, when

Congress did so, it was aware that this fund permitted certain uses and yet it did not include any

additional limitations when it identified JITF as the location for deposits. It naturally follows that

this should inform a fair reading of how Congress intended the PACER fees to be spent.4

       Reports of Congressional Committees. Plaintiffs conclude their Opposition by stating the

obvious—committee reports cannot authorize a statutory violation. See Pls.’ Opp. at 9. But this

strawman does nothing to advance Plaintiffs’ arguments. Indeed, at no point does Defendant

suggest that the Court should adopt an interpretation contrary to the E-Government Act (or its

predecessors) in light of anything stated by a committee report. See generally Def.’s Mot. Instead,

Defendant points to various statements from the House and Senate Appropriations Committees as

indicative of the fact that Defendant’s interpretation of the E-Government Act is correct. Indeed,

courts routinely look to committee reports as support for an interpretation of statutory language.

See, e.g., Am. Broad. Cos., Inc. v. Aereo, Inc., 134 S. Ct. 2498, 2505–506 (2014) (discussing

language in a committee report when interpreting amendments to Copyright Act); Lawson v. FMR

LLC, 134 S. Ct. 1158, 1162 (2014) (discussing language in committee report when interpreting

purpose of Sarbanes-Oxley Act of 2002); Kirtsaeng v. John Wiley & Sons, Inc., 568 U.S. 519, 535

(2013) (relying on committee reports when discussing contours of the first sale doctrine). It is


4
  As discussed above, Plaintiffs’ suggestion that this argument is somehow at odds with the
2009 letter from the AO’s director to then-Senator Lieberman is incorrect. See Pls.’ Opp. at 8; see
also supra note 1.

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Defendant’s argument that harmonizes the statutory text and the various statements from the

congressional committees. In contrast, Plaintiffs’ argument creates a conflict between the E-

Government Act and the committee statements—a conflict that Plaintiffs have failed to explain.

       As noted above, Defendant believes that this Court should grant summary judgment in its

favor based on the plain text of the E-Government Act. See supra Part I. But should the Court

conclude that there is any ambiguity in that statutory text, the D.C. Circuit has explained that

legislative history “can serve to inform the court’s reading of an otherwise ambiguous text.”

Recording Indus. Ass’n of Am., Inc. v. Verizon Internet Servs., Inc., 351 F.3d 1229, 1237 (D.C.

Cir. 2003). Here, each of the referenced legislative materials supports Defendant’s interpretation

of the E-Government Act. Plaintiffs’ only response (indeed, the only response they could offer)

is to try to diminish these committee statements as sporadic or rogue. Of course, they are no such

thing and this Court may rely on them as further support for Defendant’s straightforward

interpretation of the E-Government Act.

                                          CONCLUSION

       For the foregoing reasons, and those stated in Defendant’s Cross-Motion for Summary

Judgment, Defendant respectfully requests that the Court enter summary judgment in its favor.

January 5, 2018                              Respectfully submitted,

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